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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES CONFERENCE OF
CATHOLIC BISHOPS,

                              Plaintiff,

v.

UNITED STATES DEPARTMENT OF
STATE;
                                                         Case No. 1:25-cv-465-TNM
MARCO RUBIO, in his official capacity as Sec-
                                                         REPLY MEMORANDUM IN
retary of State, Department of State;
                                                         SUPPORT OF MOTION FOR
                                                         PRELIMINARY INJUNCTION
BUREAU OF POPULATION, REFUGEES,
AND MIGRATION, Department of State;

JENNIFER DAVIS, in her official capacity as
Principal Deputy Assistant Secretary, Bureau
of Population, Refugees, and Migration,
Department of State;

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;

ROBERT F. KENNEDY, JR., in his official
capacity as Secretary of Health and Human
Services, Department of Health and Human
Services;

                              Defendants.
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                                           INTRODUCTION

       The government’s response doubles down on its unlawful refusal to comply with its statu-

tory and regulatory obligations in suspending funding for initial-refugee resettlement. Perhaps

recognizing the infirmity of that suspension, the government has pivoted. Late yesterday, just

hours after it filed its response, the government issued cursory notifications to USCCB purporting

to terminate its cooperative agreements.

       The government’s termination only confirms the need for preliminary injunctive relief.

The suspension continues to inflict irreparable harm on USCCB because, as the termination notices

make clear, the suspension is the reason that the government will continue to deny reimbursement

requests for costs USCCB and its partners incurred between January 24 and February 27—pre-

venting USCCB from receiving the funds necessary to carry out its mission to assist the refugees

the government already placed in its care. And the government’s purported termination of

USCCB’s awards while refugees remain in their initial 90-day resettlement period violates the

Refugee Act, the Impoundment Control Act, and the APA for many of the same reasons the sus-

pension did. It also causes irreparable harm, including frustration of USCCB’s mission to assist

refugees already in its programs. While the government asserts the termination renders USCCB’s

claim exclusively one for money damages, ECF No. 27, that assumes the lawfulness of the termi-

nation, which itself should be set aside. Moreover, regardless of the termination, this Court can

still set aside the Jan. 24–Feb. 27 suspension and order the government to continue processing

reimbursements for statutorily mandated services to already-arrived refugees during that period.

       The government cannot escape review of its unlawful suspension by effecting an unlaw-

ful termination. This Court should preliminarily enjoin enforcement of the funding suspension

and the termination.
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                                           ARGUMENT

I.     The Recent Termination Of USCCB’s Agreements Does Not Change the Suspen-
       sion’s Unlawfulness—And Itself Is Unlawful

       Late yesterday, USCCB received two notifications from the State Department indicating

that its cooperative agreements have been “immediately terminated as of February 27, 2025” be-

cause they “no longer effectuate[] agency priorities.” Ex. A; Ex. B (“Termination Notice”). The

Termination Notice provided no explanation for how USCCB’s awards no longer effectuate

agency priorities. And it reaffirmed the government’s view that costs USCCB incurred after the

January 24 Refugee Funding Suspension are not reimbursable. It states that if the “award is already

in suspended status, payment requests for legitimate costs incurred prior to the effective date of

the Notice of Suspension are allowable.” Id. (emphasis added). In other words, the Termination

Notice treats the suspension as what renders post-January 24 expenses non-reimbursable. Thus,

far from mooting this case, the Termination Notice confirms the need for this Court’s prompt relief

from both the suspension and the termination of funding with respect to already-arrived refugees.

       First, the Termination Notice does not eliminate the adverse effects of the Refugee Funding

Suspension or retroactively render it any less unlawful. In the Termination Notice, the government

continues to maintain that it properly suspended USCCB’s cooperative agreements between Jan-

uary 24 and February 27, as evidenced by its suggestion that the government will continue reject-

ing expenses for USCCB’s assistance to admitted refugees incurred during that 33-day period.

The Termination Notice does not itself purport to impose those consequences or provide any ad-

ditional justification for them. Any attempt to use the Termination Notice to justify the Refugee

Funding Suspension would be an ex-post rationale that cannot succeed given fundamental admin-

istrative-law principles. See Sec. & Exchange Comm’n v. Chenery Corp., 318 U.S. 80, 94–95

(1943). The government’s continued enforcement of the Jan. 24–Feb. 27 suspension still violates

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8 U.S.C. § 1522(a)’s requirements to fund certain services for recently arrived refugees, flouts the

Impoundment Control Act, and is arbitrary and capricious for multiple reasons.

       Second, the Termination Notice is itself unlawful for many of the same reasons as the sus-

pension. It also purports to end funding for thousands of refugees who have already arrived and

been placed in USCCB’s programs. And in doing so, it likewise violates the Refugee Act’s re-

quirement that the government provide, to the extent of available appropriations, essential services

to those refugees. Like the suspension, the termination effects a government-wide refusal to spend

funds that Congress appropriated for a statutorily mandated purpose based on a policy disagree-

ment; it too violates the Impoundment Control Act. It is also arbitrary and capricious because the

government (1) failed to consider the serious negative consequences it will have on USCCB and

the refugees it is currently assisting; (2) failed to consider or explain its rejection of an obvious,

superior alternative—i.e., terminating the program prospectively while allowing already-arrived

refugees to receive services until the end of their 90 days; and (3) failed to adequately explain

itself—namely, how or why USCCB’s awards are inconsistent with agency policy. And just like

the suspension, the termination will cause irreparable harm to USCCB by preventing it from ful-

filling its core mission by assisting refugees whom the government already has placed in its care.

       Thus, as explained in more detail below, the Court should preliminarily enjoin the govern-

ment from continuing to enforce both the suspension of USCCB’s cooperative agreements be-

tween January 24 and February 27, 2025, and the termination of USCCB’s cooperative agreement,

until all refugees assigned to USCCB have graduated from the 90-day initial-resettlement program.

II.    USCCB Is Likely To Succeed On The Merits

       A.      The Refugee Funding Suspension Is Reviewable, Final Agency Action

       The government’s alleged barriers to review under the APA are meritless.


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       The government first argues that the suspension is unreviewable because it effectuates the

Foreign Aid Executive Order. Opp. 17. But the suspension does not implement that order because

the awards involve “domestic assistance.” 8 U.S.C. § 1522(a)(3). In any event, the suspension

would be reviewable under the APA: USCCB has not asked this Court to set aside the Executive

Order. Rather, it challenges the State Department’s implementation of that order by suspending

funding for all refugee-resettlement services. Memorandum from Secretary of State to All Diplo-

matic and Consular Posts, Dep’t of State (Jan. 24, 2025), https://perma.cc/J26TVCJR (“Rubio

Memo”) (claiming the suspension is “[c]onsistent with” the Foreign Aid Executive Order).

       “The D.C. Circuit has already held that the decision-making process an agency employs to

effectuate an executive order . . . is subject to arbitrary and capricious review.” TikTok Inc. v.

Trump, 507 F. Supp. 3d 92, 110 (D.D.C. 2020) (citing Holy Land Found. for Relief & Dev. v.

Ashcroft, 333 F.3d 156, 162 (D.C. Cir. 2003)). “[A]cting at the behest of the President” does “not

leave the courts without power to review the [action’s] legality”; “courts have power to compel

subordinate executive officials to disobey illegal Presidential commands.” Chamber of Commerce

v. Reich, 74 F.3d 1322, 1328 (D.C. Cir. 1996); see also Pub. Citizen v. U.S. Trade Rep., 5 F.3d

549, 552 (D.C.Cir. 1993) (“Franklin[’s denial of judicial review of presidential action] is limited

to those cases in which the President has final constitutional or statutory responsibility for the final

step necessary for the agency action directly to affect the parties.”); Gomez v. Trump, 485 F.

Supp. 3d 145, 177 (D.D.C. 2020) (“APA review of an Executive Branch official’s actions is thus

not precluded merely because the official is carrying out an executive order.”). Were the law

otherwise, it would swallow the APA’s presumption of judicial review of agency action, “al-

low[ing] Presidents to insulate any desired rulemaking from judicial review with the single stroke

of an executive pen.” Nebraska v. Su, 121 F.4th 1, 15 (9th Cir. 2024). The D.C. Circuit therefore

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has rightly rejected that view. See Chamber of Commerce, 74 F.3d at 1328.

       The government’s cases do not support its sweeping assertion that “actions taken by an

executive agency to implement an executive order” are “unreviewable.” Opp. 17. Those cases

generally involved agency officials carrying out duties statutorily vested in the President himself.

In Detroit International Bridge Co. v. Government of Canada, for example, the provision at issue

commanded that “[n]o bridge may be constructed” under the statute “unless the President has

given his approval thereto.” 185 F. Supp. 3d 85, 95 (D.D.C. 2016) (quoting 33 U.S.C. § 535b)

(emphasis added); see also, e.g., Ancient Coin Collectors Guild v. Customs & Border Prot., 801

F. Supp. 2d 383, 389 (D. Md. 2011) (“President ‘determines’” whether statute is satisfied).

       Here, however, the Secretary has been vested with the relevant statutory authority under 8

U.S.C. § 1522, as the government acknowledges. Opp. 4–5. The statutory provisions the govern-

ment cites that do vest authority in the President are inapplicable. Id. at 19. The government thus

must rely on the President’s “lead role” in “foreign policy.” Id. at 18–19. But the President’s

foreign-affairs powers have little to do with a program involving funding for already-admitted

refugees in the United States. And the government’s position, taken to its logical conclusion,

would mean that all agency action with any relation to foreign affairs is unreviewable under the

APA. That, however, is not the law. See Biden v. Texas, 597 U.S. 785, 814 (2022) (holding that

the district court should consider APA challenge to agency program requiring return to Mexico of

non-Mexican aliens). Thus, the agency’s discretionary decisions to implement the Foreign Aid

Executive Order by suspending all refugee-assistance funding are reviewable under the APA.

       Equally meritless is the argument that USCCB is seeking impermissible programmatic re-

lief because it does not challenge a “discrete, identifiable ‘agency action.’” Opp. 19. USCCB

challenges the State Department’s suspension (and now termination) of reimbursements owed to

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it under specific refugee-resettlement programs. That action is at least as “discrete” and “identifi-

able” as that challenged in cases like Bowen v. Massachusetts, 487 U.S. 879, 886 (1988) (HHS

Secretary’s determination that certain educational services were not covered by Medicaid), and

Department of Homeland Security v. Regents of the University of California, 591 U.S. 1, 9 (2020)

(Homeland Security Secretary’s termination of DACA program).

       The government also argues that the suspension is not “final agency action.” Opp. 20. But

the government was not considering whether to suspend funding; it decided finally to suspend that

funding. An agency’s order to stop the “obligation or disbursement of . . . financial assistance” is

not “merely a guidance,” but a “directive” that immediately purports to abrogate funding recipi-

ents’ right to timely reimbursement. Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, 2025

WL 368852, at *10 (D.D.C. Feb. 3, 2025). That is the “consummation” of agency decisionmaking.

Bennett v. Spear, 520 U.S. 154, 177–78 (1997). The suspension also had the “direct and apprecia-

ble legal effect” of leaving USCCB responsible for thousands of refugees without the ability to

obtain reimbursements from the government for their care. Id. at 178. If a purportedly temporary

suspension of funding were not final agency action, then the government could forever insulate its

funding decisions from review by classifying every suspension as temporary or continually imple-

menting a series of nominally time-limited suspensions. That would make a mockery of the APA’s

“basic presumption of judicial review.” Abbott Labs. v. Gardner, 387 U.S. 136, 140 (1967).

       B.      USCCB’s Case Belongs In District Court

       The government’s principal jurisdictional argument rests on the Tucker Act. The govern-

ment claims that the Tucker Act grants the Court of Federal Claims exclusive jurisdiction over this

case, displacing the APA’s cause of action. Opp. 10–17. That is wrong.

       This case is on all fours with Bowen. In Bowen, Massachussetts sought the same remedy


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as USCCB—“declaratory and injunctive relief” and an order to “set aside” agency action that

withheld funds from disbursement through a statutorily created grant program. Id. at 879. The

Court held that the APA conferred jurisdiction on district courts over that “equitable action for

specific relief” and concluded the Tucker Act does not displace the APA’s cause of action in such

cases because: (1) the Act grants the Court of Claims non-exclusive jurisdiction, id. at 910 n.48,

and (2) the Claims Court often is not an adequate alternative forum because it “does not have the

general equitable powers of a district court to grant prospective relief,” id. at 892–893, 903, 905.

The Court also emphasized the importance of prospective injunctive relief where, as here, the stat-

utory scheme creates “rather complex ongoing relationships” between the parties. Id. at 905.

       The government’s contention that “the APA generally prohibits ‘specific relief’” thus flatly

contradicts Bowen. Opp. 14. The case it relies on, PPG Industries, Inc. v. United States, 52 F.3d

363 (D.C. Cir. 1995), says no such thing. It speaks, instead, about the need to remand to an agency

when the agency has applied an incorrect legal standard. Id. at 365. And, contrary to the govern-

ment’s invocation of Norton v. Southern Utah Wilderness Alliance, the specific relief USCCB

seeks does not require the Court to direct “how [an agency] shall act.” 542 U.S. 55, 64 (2004).

Rather, it would only “compel an agency ‘to perform a ministerial or non-discretionary act,’”

namely the use of appropriated funds as mandated by the Refugee Act. Id. (citation omitted).

       The government’s only response to Bowen is that USCCB is “not seeking funds to which

a statute entitles it.” Opp. 13 (quotations omitted). That is wrong because, as explained below,

8 U.S.C. § 1522(a) requires the government to reimburse USCCB’s allowable costs for refugees

the government assigned it. Even if that were not the case, Bowen recognizes district court juris-

diction over APA suits where a party “is seeking funds to which a statute allegedly entitles it.”

487 U.S. at 901 (emphasis added). The government, in conflating jurisdiction with the merits,

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disregards Bowen’s clear direction that the district courts must remain open to claims for equitable

relief to redress alleged statutory violations, which the Court of Federal Claims cannot grant.

       Instead of dealing with Bowen, the government relies on a line of D.C. Circuit cases hold-

ing that the Tucker Act grants the Court of Claims exclusive jurisdiction over “in essence” contract

claims. Opp. 10–17. As the D.C. Circuit itself has recognized, that line of cases is on thin ice after

Bowen. See Transohio Sav. Bank v. Dir., Off. of Thrift Supervision, 967 F.2d 598, 612–13 (D.C.

Cir. 1992) (noting the “strong case that, after Bowen, the Tucker Act should not be read to ‘im-

pliedly forbid’ under the APA the bringing in district court of contract actions for specific relief”

but ultimately concluding that Bowen “does not compel” overruling its prior holdings). Regard-

less, those cases don’t apply here because USCCB’s claims are not “in essence” contract claims.

       To decide whether a claim is essentially contractual in nature, the D.C. Circuit looks to

“the source of the rights upon which the plaintiff bases its claims” and “the type of relief sought

(or appropriate).” Megapulse, Inc. v. Lewis, 672 F.2d 959, 968 (D.C. Cir. 1982). In evaluating

the nature of the relief, the Court inquires whether the claim “explicitly or ‘in essence’ seeks . . .

monetary relief from the federal government.” Kidwell v. Dep’t of Army, Bd. for Corr. of Military

Records, 56 F.3d 279, 284 (D.C. Cir. 1995). It also considers whether “jurisdiction lies in the

Court of Federal Claims” before closing the door to the district court. Tootle v. Sec’y of Navy, 446

F.3d 167, 176 (D.C. Cir. 2006). A claim “must satisfy” each element of these tests “to fall within

the Claims Court’s exclusive Tucker Act jurisdiction.” Crowley Gov’t Servs., Inc. v. Gen. Servs.

Admin., 38 F.4th 1099, 1107 n.6 (D.C. Cir. 2022); see also Kidwell, 56 F.3d at 285–86 (holding

the Court of Claims did not have exclusive jurisdiction, based solely on the nature of the relief).

Here, neither the rights USCCB seeks to vindicate nor the relief it requests are based in contract.

       First, the rights USCCB seeks to vindicate derive from federal law, not the cooperative

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agreements. The government argues that “the terms of Agreements will determine whether the

State Department had the authority to suspend” them. Opp. 15. That mischaracterizes USCCB’s

claim. USCCB is alleging violations of the Refugee Act, Impoundment Control Act, State De-

partment regulations, APA, and the separation of powers; it is not alleging breaches of the agree-

ments. So “determining whether [the government] infringed” the rights USCCB is asserting “re-

quires primarily an examination of the statutes” and regulations the government “has purportedly

violated, not” the agreements. Crowley, 38 F.4th at 1108–09; see Bennett v. Ky. Dep’t of Ed., 470

U.S. 656, 669 (1985) (“Unlike normal contractual undertakings, federal grant programs originate

in and remain governed by statutory provisions expressing the judgment of Congress concerning

desirable public policy.”). For this reason, American Near East Refugee Aid v. USAID—a case

where the court did not even rule on the Tucker Act issue, 2023 WL 10669678, at *6 (D.D.C. Mar.

21, 2023)—is inapposite. It noted that “there appears to be no statute that creates the right [plain-

tiff] seeks to enforce.” Id. The opposite is true here.

       It is irrelevant that USCCB’s federal-law claims, if successful, will have the effect of rein-

stating the government’s obligations under the agreements by eliminating an unlawful barrier the

government has erected to complying with those agreements. As the D.C. Circuit has explained, a

“federal district court may accept jurisdiction over a statutory or constitutional claim for injunctive

relief” under the APA “even where the relief sought is an order forcing the government to obey

the terms of a contract.” Transohio Sav. Bank, 967 F.2d at 610; accord Kidwell, 56 F.3d at 285–

86 (“[A]ny monetary benefits that may flow from [plaintiff’s] victory would not come from the

district court’s exercise of jurisdiction, but from the structure of statutory and regulatory require-

ments.”). The government’s reliance on contrary out-of-circuit precedent is therefore unavailing.

See Opp. 12 (citing Coggeshall Dev. Corp. v. Diamond, 884 F.2d 1, 3 (1st Cir. 1989)). Besides,

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Coggeshall was a mandamus suit to compel specific performance under a deed. 884 F.2d at 4. It

says nothing about suits for specific relief from violations of federal statutory or regulatory law.

       Nor does it matter if the cooperative agreements give rise to some (but not all) of the gov-

ernment’s statutory and regulatory obligations, or that the government is a party to the cooperative

agreements. Opp. 16. In Perry Capital LLC v. Mnuchin, the D.C. Circuit held that a plaintiff’s

suit for breach of fiduciary duties (a non-contractual claim) was not “in essence” contractual even

though the alleged fiduciary duties arose from the contractual relationship between the plaintiff

and the government. 864 F.3d 591, 619 (D.C. Cir. 2017). That was because there, as here, the

plaintiff did “not contend [the government] breached the terms of the [agreement] nor otherwise

invoke them except to establish” the existence of the non-contractual rights. Id. Nor does the

government establish that the cooperative agreement here is in fact a contract cognizable in the

court of claims. See St. Bernard Parish Gov’t v. United States, 134 Fed. Cl. 730, 735 (2017) (no

jurisdiction because cooperative agreement did not constitute a contract for consideration).

       Second, the relief USCCB seeks is also not contractual. USCCB is not asking the Court

for damages—the “prototypical contract remedy.” Crowley, 38 F.4th at 1107. USCCB seeks to

enjoin the government from enforcing the unlawful impediments (the suspension and termination)

that the government has erected to avoid its obligations under a statutorily mandated program.

That equitable relief would not guarantee USCCB reimbursements in any specific amount; it

would just require the government to process reimbursement requests in the ordinary course.

       To be sure, the equitable relief USCCB is seeking would result in the government making

payments to USCCB in the ordinary course; ordering the government to process reimbursements

would ensure that it does not simply ignore an order setting aside the funding suspension. See

ECF No. 1, Prayer for Relief. But that doesn’t transform this case into a Tucker Act case. The

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D.C. Circuit has held that a plaintiff “does not ‘in essence’ seek monetary relief . . . merely because

. . . success on the merits may obligate the United States to pay” the plaintiff, “as long as the

plaintiff’s complaint requests only non-monetary relief that has ‘considerable value’ independent

of any future potential for monetary relief.” Kidwell, 56 F.3d at 284; Crowley, 38 F.4th at 1107.

       That is precisely the case here. The equitable relief USCCB is seeking would eliminate

the crisis caused by the government’s unlawful suspension by restoring the ordinary processing of

reimbursements on which program participants have come to rely. In doing so, it would provide

“non-monetary relief to [USCCB’s] business operations and professional reputation” as well as

eliminate USCCB’s “performance difficulties” resulting from the suspension. Crowley, 38 F.4th

at 1111; cf. Kidwell, 56 F.3d at 285 (when requested relief would reduce stigma, the non-monetary

value of the relief takes the claim outside of the Claims Court’s exclusive jurisdiction). Thus, “any

monetary recovery [USCCB] might be entitled to in the future would be entirely separate from the

District Court’s decision regarding whether the Government acted arbitrarily and capriciously or

neglected to follow” statutes or regulations. Tootle, 446 F.3d at 175.

       Third, the Court of Claims does not have jurisdiction to grant the relief USCCB is seeking.

The government acknowledges that “the D.C. Circuit has categorically rejected the suggestion that

a federal district court can be deprived of jurisdiction by the Tucker Act when no jurisdiction lies

in the Court of Federal Claims.” Opp. 16 (cleaned up); Tootle, 446 F.3d at 176–77. But that is

exactly where its position in this case would lead. Bowen was explicit that “[t]he Claims Court

does not have the general equitable powers of a district court to grant prospective relief.” 487 U.S.

at 905. Because “a naked money judgment against the United States” will not be “an adequate

substitute for prospective relief” given the ongoing irreparable harm, the Claims Court cannot give

USCCB the relief it needs. Id. So even if USCCB’s claims were contractual, this Court would

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need to exercise jurisdiction to avoid creating the jurisdictional gap the D.C. Circuit has rejected.

       C.      The Suspension and Termination Violate The Refugee Act Of 1980

       The Refugee Funding Suspension (and subsequent Termination Notice) violate the Refu-

gee Act’s command that the Secretary of State promptly provide initial resettlement services to

refugees admitted to the United States. 8 U.S.C. § 1522(a)(1). The government’s arguments to

the contrary ignore the Act’s mandatory language and the fact that the government has left eligible,

already-arrived refugees without the services Congress required the government to provide.

       The Refugee Act commands the government to provide initial-resettlement services to ad-

mitted refugees. Once the government has begun “providing assistance” to refugees by resettling

them in the United States and placing them in the care of a non-profit like USCCB, it must fund

certain services “to the extent of available appropriations.” 8 U.S.C. § 1522(a)(1)(A). The agency

must make available “sufficient resources” for “employment training and placement,” “English

language training,” and other services to help refugees “achieve economic self-sufficiency” and

“become effectively resettled.” Id. These services, the provision says twice, must be provided to

help refugees resettle “as quickly as possible.” Id. (emphasis added).

       The government does not dispute the substance of its payment obligations under Section

1522(a). Instead, the government argues that those obligations do not apply to the initial-resettle-

ment program under Section 1522(b). Opp. 21. But Section 1522(a) imposes those obligations

on the government’s “providing assistance under this section.” 8 U.S.C. § 1522(a)(1)(A) (empha-

sis added). The statute does not carve out initial resettlement under Section 1522(b), and the gov-

ernment does not explain why Congress would have wanted to relieve the government of its pay-

ment obligations only during a refugee’s first 90 days in the country—the most important part of

a refugee’s transition to the United States.


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       The government tries to manufacture an exception by pointing out that Section 1522(a)

“addresses the provision of resettlement services to refugees by the Director of the Office of Ref-

ugee Resettlement,” whereas the initial-resettlement program is “administered by the Secretary of

State.” Opp. 21. But the statute originally envisioned that the Director of the Office of Refugee

Resettlement, starting in fiscal year 1982, would administer the initial-resettlement program, sub-

ject to the President’s selection of a different official. 8 U.S.C. § 1522(b)(1)(A)(ii). Had the Di-

rector assumed that role, he clearly would have been bound to make payments in accordance with

Section 1522(a). The President’s designation of the Secretary of State in 1981 to assume the Di-

rector’s role did not vitiate those statutory obligations; the Secretary simply stepped into the Di-

rector’s shoes. Were there any doubt, Section 1522(b) makes clear that the Secretary’s “[g]rants

to, or contracts with, private nonprofit voluntary agencies under this paragraph shall be made con-

sistent with the objectives of this subchapter”—which includes Section 1522(a).           8 U.S.C.

§ 1522(b)(1)(A) (emphasis added). The Secretary thus also must abide Section 1522(a)’s com-

mand to “make available sufficient resources” for essential services “as quickly as possible.”

       The government also argues that Section 1522(b)’s initial-resettlement program is discre-

tionary in that the statute does not require the Secretary to enter into cooperative agreements with

private non-profits like USCCB. Opp. 21. Maybe so. But once the government elected to

“provid[e] assistance” by entering into those agreements and placing refugees with USCCB, Sec-

tion 1522(a) required it to fund certain services for those refugees “to the extent of available ap-

propriations.” § 1522(a)(1)(A). The government is now shirking that obligation by refusing to

reimburse USCCB for providing statutorily mandated services to the very refugees the government

itself admitted and placed with USCCB. See Fuller Decl. ¶ 12 (as of February 24, 2025, “more

than 5,000” refugees remain in USCCB programs).

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       Finally, the government’s argument that the statute does not “mandate[] the timing of any

payment under a cooperative agreement” misses the point. TRO Opp. 10, ECF No. 14. A funding

shutdown, temporary or permanent, violates the Act if refugees within the 90-day eligibility win-

dow are denied access to services that the statute requires the government to provide “as quickly

as possible” because the government refused to spend “available” funds. § 1522(a)(1)(A). Refu-

gees currently in the United States are being denied these services, and more will soon follow.

See, e.g., Brown Decl. ¶ 7; Main Decl. ¶ 5; Colbert Decl. ¶ 6. The funding suspension and termi-

nation thus cut off thousands of refugees from essential services required by law.

       D.      The Suspension and Termination Violate the Impoundment Control Act

       The government fails to demonstrate that the suspension and termination have complied

with the Impoundment Control Act. It is undisputed that the government has not complied with

the Impoundment Control Act’s procedures for deferrals. It instead insists that “[t]here has been

no deferral.” Opp. 22. Rather than engage with the broad statutory definition of the term, the

government suggests that so long as it is putting appropriated funds to other uses authorized by

the relevant appropriation (e.g., “paying for the salaries of personnel in the Migration Bureau”), it

is not deferring expenditures in violation of the Impoundment Control Act. Id. That ignores the

obligations under Section 1522(a) that the State Department triggered when it placed refugees into

USCCB’s care. Having taken that critical step, any “withholding or delaying” of funds thus de-

voted to resettling assigned refugees is a “deferral.” 2 U.S.C. § 682(1).

       The government also flouts the Impoundment Control Act’s substantive limitations. The

Act limits the purposes for which the government may permissibly defer the use of appropriated

funds to ensure “[c]onsistency with legislative policy.” 2 U.S.C. § 684(b). Those purposes are

(1) “to provide for contingencies;” (2) “to achieve savings made possible by or through changes


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in requirements or greater efficiency of operations;” or (3) “as specifically provided by law.” Id.

The Refugee Funding Suspension and the Termination Notice do not fit into any of the three enu-

merated purposes, and the government does not argue otherwise.

       Instead, the government contends that the suspension is a permissible “[t]emporary

pause[].” Opp. 22. But there is no “temporary pause” exception to the Impoundment Control Act.

The government claims that City of New Haven v. United States stands for the proposition that the

Act does not apply to “‘trivial’ impoundments relating to the ‘normal and orderly operation of the

government.’” 809 F.2d 900, 908 (D.C. Cir. 1987). But the City of New Haven decision pre-dated

the 1987 amendment of the Impoundment Control Act, which prohibited all deferrals except for

the three specifically enumerated categories described above. Indeed, Congress was aware of City

of New Haven and intended to codify it “by prohibiting policy deferrals and providing that deferrals

will be permissible only” for the purposes listed in the statute. 133 Cong. Rec. 24655 (1987).

       In any event, the Termination Notice makes clear that the government’s refusal to fund

refugee-resettlement assistance is not temporary programmatic delay but a permanent and imper-

missible policy-based deferral. In City of New Haven, the D.C. Circuit distinguished “policy”

deferrals—which the court held were prohibited—from “programmatic” deferrals. 809 F.2d at

901. Before the 1987 amendment, programmatic deferrals were permissible because they were

“ordinarily intended to advance congressional budgetary policies by ensuring that congressional

programs are administered efficiently.” Id. Policy deferrals, on the other hand, “are ordinarily

intended to negate the will of Congress by substituting the fiscal policies of the Executive Branch

for those established by the enactment of budget legislation.” Id. As the D.C. Circuit more re-

cently affirmed, “the President does not have unilateral authority to refuse to spend” appropriated

funds when it is “policy reasons” motivating the decision. In re Aiken County, 725 F.3d 255, 261

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n.1 (D.C. Cir. 2013). This persistent bar against policy deferrals notwithstanding, the government

insists that the Executive Branch has authority to use “short-term delays to determine how best to

implement programs consistent with the President’s policy objectives.” Opp. 23. That position

expands programmatic delay further than any court or government actor has ever conceived of it,

and it is inconsistent with City of New Haven and Aiken. Deferrals cannot be justified by policy

objections or potential policy objections, so the suspension and termination both violated the ICA.

       As a last gasp, the government intimates that the Impoundment Control Act might not ap-

ply to foreign-affairs spending. Opp. 23. But nothing in the Act draws that distinction, and the

OLC opinion the government cites assessed the President’s residual power under the Constitution

to impound federal funds before Congress enacted the Act. See Presidential Authority to Impound

Funds Appropriated for Assistance to Federally Impacted Schools, 1 Supp. Op. O.L.C. 303 (1969)

(predating the ICA by five years); Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637

(1952) (Jackson, J., concurring) (the Executive’s power is at its “lowest ebb” when it defies Con-

gress). In any event, as already discussed, these funds are not related to the President’s foreign-

affairs powers but are domestic assistance for individuals already present in the United States.

       E.      The Suspension and Termination Are Arbitrary and Capricious

       The government’s suspension and termination of funding for already-arrived refugees are

arbitrary and capricious under the APA. At the outset, the government seeks to water down the

APA by arguing that USCCB’s claims should not be considered “‘standard administrative fare’”

because they relate to foreign policy. Opp. 9. But USCCB’s awards exclusively provide “domestic

assistance” to refugees admitted to the United States. 8 U.S.C. § 1522(a)(3) (emphasis added).

Even if agency actions related to immigration or refugees implicated foreign policy, the Supreme

Court has made clear that typical APA standards apply. See, e.g., Dep’t of Homeland Sec. v.


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Regents of the Univ. of Cal., 591 U.S. 1, 8, 20 (2020) (“Regents”) (applying arbitrary-or-capricious

standard to the recission of the Deferred Action for Childhood Arrivals program). Under those

well-settled standards, the government has little to say.

       Failure to Consider Disruption and Reliance. Both the suspension and termination en-

tirely fail to consider the disruption they have caused and continue to cause to the “serious reliance

interests” of USCCB, its subrecipients, and their assigned refugees. Regents, 591 U.S. at 30. In

the four decades USCCB has received funding, reimbursements were never suspended mid-award.

See Fed. Commc’ns Comm’n v. Fox Television Stations, Inc., 556 U.S. 502, 515–16 (2009) (“An

agency may not, for example, depart from a prior policy sub silentio or simply disregard rules that

are still on the books.”). Moreover, USCCB was entitled to reimbursements under 2 C.F.R.

§ 200.305(b)(6), which provides that allowable costs may not be “withheld at any time,” and

USCCB’s agreements allow suspension of funding only for noncompliance. So it was reasonable

for USCCB to rely on continued funding for refugees already placed in USCCB’s programs.

       The government asserts that the suspension was only temporary, as though that exempts

the government from the APA’s requirement to consider the consequences of its actions. Opp. 25.

But the Termination Notice makes clear that the suspension is not temporary. And in any event,

the government identifies no case creating a temporary-action exception to State Farm and Re-

gents. Nor would such an exception make sense, because “temporary” actions often have predict-

ably serious and disruptive consequences. Here, for example, the government’s decision to stop

millions in funding midstream after four decades of continuity predictably forced USCCB to lay

off employees and stop reimbursing its subrecipients, who in turn have laid off their staff and

stopped providing services to refugees. Under bedrock APA principles, the government was re-

quired to consider and weigh those “important aspect[s] of the problem.” Motor Vehicle Mfrs.

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Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

       The government alternatively claims that it did consider reliance interests by “providing a

means for reimbursement of costs incurred prior to” January 24. Op. 25. But the government’s

purported assurance of reimbursements for pre-January 24 expenses does not absolve the govern-

ment of its obligation to consider and address the far more serious disruption caused by its refusal

to reimburse post-January 24 expenses. And even as to pre-January 24 expenses, the government’s

assurance has proved illusory. USCCB still has not been reimbursed for services provided to the

thousands of refugees that have been assigned to it and has received no guidance (despite repeated

requests) as to the applicability of any waiver or the already-incurred “legitimate expenses.” The

government’s conduct with respect to pre-January 24 expenses therefore has compounded, rather

than diminished, the disruption to USCCB’s reliance interests. That is an important aspect of the

problem that the government needed to (but did not) address.

       Failure to Consider Reasonable Alternatives. In effecting the suspension and the termi-

nation, the government entirely failed to consider an obvious alternative—namely, suspending or

terminating the program prospectively while allowing already-arrived refugees to receive services

until the end of their first 90 days. The government does not claim that it did consider alternatives.

Instead, the government argues it had no need to do so and claims that USCCB’s proffered alter-

native is a mere “policy disagreement.” Opp. 26. But it is blackletter law that to comply with the

APA, an agency must consider obvious reasonable alternatives and explain why it chose the path

it did, regardless of the agency’s ultimate policy decision. See State Farm, 463 U.S. at 48; Allied

Local & Reg’l Mfrs. Caucus v. Env’t Prot. Agency, 215 F.3d 61, 80 (D.C. Cir. 2000); Yakima

Valley Cablevision, Inc .v. Fed. Commc’ns Comm’n, 794 F.2d 737, 746 n.36 (D.C. Cir. 1986).

The government indisputably did not do so here.

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       Inadequate Explanation. The suspension and termination are also arbitrary and capricious

because the government offered no rational explanation for them. The government’s sole defense

of the suspension is that it is purportedly “[c]onsistent with” the Foreign Aid Executive Order’s

suspension of funding for “foreign assistance.” Opp. 24–25. According to the government, even

though the initial-resettlement program is statutorily designated as “domestic assistance,” it was

rational for the State Department (through the Rubio Memo) to include that program within the

foreign-assistance funding suspension because funding for the program is appropriated under the

“Migration and Refugee Assistance” heading of Title III of the Department of State, Foreign Op-

erations, and Related Programs Appropriations Act. Id. at 24.

       That explanation does not pass muster under the APA. To begin, it appears nowhere in the

suspension letter, which makes no reference to the Rubio Memo. Under Chenery, therefore, the

government cannot rely on it now. More fundamentally, though, the government still has never

explained why it unthinkingly swept in domestic-assistance programs funded through that appro-

priation, which cannot plausibly be considered “foreign assistance.” Nothing in the relevant ap-

propriations act suggests that it covers exclusively foreign assistance. And at least the very statute

under which the government funds USCCB describes awards for refugee resettlement as “domestic

assistance.” 8 U.S.C. § 1522(a)(3). The government provided no rationale for suspending domes-

tic assistance in order to comply with an executive order targeting foreign assistance.

       The Termination Notice likewise contains no adequate explanation. It simply says that the

“award no longer effectuates agency priorities”—without explaining what those priorities are or

why the awards, which have been uninterrupted for decades, no longer effectuate those priorities.

“[C]onclusory statements” like these “do not meet the requirement that ‘the agency adequately

explain its result.’” Dickson v. Sec’y of Def., 68 F.3d 1396, 1407 (D.C. Cir. 1995).

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        Violation of Regulation. The government’s continued refusal to process reimbursements

for expenses incurred under the agreements also constitutes an impermissible withholding of pay-

ments for allowable costs under 2 C.F.R. § 200.305(b)(6). The government contends that it did

not impermissibly “with[hold]” payments because it was only required to “make payment within

thirty calendar days” under 2 C.F.R. § 200.305(b)(3). Opp. 26. But the government’s Termination

Notice makes clear that it does not ever intend to make reimbursements for allowable expenses—

regardless of when incurred. And the expenses USCCB incurred are “allowable costs” under 2

C.F.R. § 200.305(b)(6) because the government had no authority to suspend its agreements on

January 24, as 2 C.F.R. § 200.339 authorizes suspension of an award only as a remedy for non-

compliance. The government thus is indisputably unlawfully withholding those payments.

        F.     The Suspension and Termination Required Notice and Comment

        The government argues that the APA’s notice-and-comment procedures do not apply here.

Opp. 27. But the government’s actions with respect to USCCB flow directly from a policy shutting

down an entire program of refugee support—one that qualifies as a substantive rule. See, e.g.,

Nat’l Ass’n of Home Builders v. U.S. Army Corps of Eng’rs, 417 F.3d 1272, 1285 (D.C. Cir. 2005)

(holding that a nationwide dredge and fill permit was a rule because these permits “‘grant rights,

impose obligations, or produce other significant effects on private interests’”). The government

thus needed to engage in the notice-and-comment process before shuttering the program.

III.    The Funding Suspension and Termination Are Causing Irreparable Harm

        USCCB continues to suffer irreparable harm as a result of the suspension and termination.

Each action continues to prevent USCCB and its subrecipients from receiving reimbursements to

which they would be entitled—the suspension for millions of dollars in pre-February 27 expenses

and the termination for the rapidly accruing post-February 27 expenses. If this Court were to set


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aside either the suspension or the termination, USCCB would begin receiving reimbursements for

expenses that would diminish the irreparable injuries by allowing USCCB to: (1) avoid hasty

layoffs and better preserve its institutional expertise by ensuring accumulated knowledge is orderly

transferred to remaining staff; (2) ensure that its partners are paid for work they performed, pre-

serving USCCB’s relationships in case refugee-resettlement programs resume in the future; and

(3) continue to fulfill its mission of providing for already-arrived refugees for crucial additional

weeks—enabling it to see thousands more of the refugees in its care receive essential services

through the end of their 90-day resettlement period

       The government’s opposition does not undermine USCCB’s showing of irreparable injury.

At the threshold, the government attempts to increase USCCB’s burden by characterizing its re-

quested relief as changing the status quo. But the D.C. Circuit has not adopted any heightened

standard based on the relationship between the relief requested and the status quo. See Friends for

All Children, Inc. v. Lockheed Aircraft Corp., 746 F.2d 816, 834 n.31 (D.C. Cir. 1984) (expressing

“no view as to whether a heightened showing should in fact be required” for a “mandatory prelim-

inary injunction” as opposed to “a prohibitory injunction”). Regardless, USCCB has established

irreparable harm to its institutional knowledge, reputation, and mission under any standard.

       The government’s attempt (at 29–30) to cast USCCB’s loss of employees and institutional

knowledge as a typical “contracti[on]” of the program ignores USCCB’s declaration explaining

how the government’s sudden suspension (and now termination) is categorically different—and

imposes dramatically greater harm—than the typical ebb and flow of refugee assistance support.

2d Canny Decl. ¶ 5. The government also offers no support for its vague suggestion that USCCB

might be able to retain institutional knowledge “through other means” besides its employees. Opp.

30. And USCCB’s refugee program director declared otherwise. 2d Canny Decl. ¶ 5.

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       As for USCCB’s reputational injuries, the government suggests that there can be no cog-

nizable reputational harm when the relationships at issue are “based on work with government

sponsored programs.” Opp. 29. But the government does not cite any case or provide any expla-

nation for that proposition. In fact, courts routinely find irreparable harm in the context of gov-

ernment-sponsored programs. See, e.g., Yorktown Sys. Grp. v. Threat Tec LLC, 108 F.4th 1287,

1296 (11th Cir. 2024); Beacon Assocs. v. Apprio, Inc., 308 F. Supp. 3d 277, 289 (D.D.C. 2018).

       On the harm to USCCB’s mission, the government offers only a weak assertion that

USCCB’s “overall operations” have not been affected. Id. at 30. But again, that is factually in-

correct—the resettlement staff is nearly one third of the total USCCB staff, and the Migration &

Refugee Services office is the largest USCCB subcomponent in terms of staff and operations.

Fuller Decl. ¶ 6. And the USCCB’s “operational and investment reserves cannot sustain a drain”

at the rate of millions per week “without jeopardizing the entire operation of the USCCB.” Id.

¶ 10. The government also ignores the cases holding that the frustration of even one of an organ-

ization’s core missions is irreparable harm because the lost opportunity to fulfill one’s mission for

a period of time can never be regained. See League of Women Voters of U.S. v. Newby, 838 F.3d

1, 8 (D.C. Cir. 2016); Valle del Sol Inc. v. Whiting, 732 F.3d 1006, 1029 (9th Cir. 2013); New York

v. U.S. Dep’t of Homeland Sec., 969 F.3d 42, 61, 86 (2d Cir. 2020). And here, as the government

does not dispute, the suspension and termination both prevent USCCB from fulfilling its core mis-

sion with respect to helping refugees already placed in its care.

       Lacking any persuasive response to USCCB’s authorities on irreparable harm, the govern-

ment tries to downplay the harm by characterizing it as purely “monetary.” Opp. 28. That is

inaccurate. Although USCCB’s irreparable harm flows from its mounting expenses, the harm is

not itself monetary. Rather, USCCB and its partners’ substantial financial outlays to keep helping

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refugees are simply part of the causal chain between the government’s unlawful actions and

USCCB’s ultimate injuries to its mission, human capital, and relationships.

       The government also argues that USCCB’s “reimbursement practices undercut” its irrepa-

rable harm. Opp. 29. But there is nothing legally or practically significant in the time between

the expense and USCCB’s reimbursement request. USCCB and its partners incur expenses on a

rolling basis. It does not pay until it receives a request from a subrecipient, and it submits its own

reimbursements shortly thereafter. USCCB thus never (until now) goes long without recouping

funds. As the government’s declaration shows, the requests submitted to PRM since January 22

have been for overlapping periods in September 2024 through January 2025. ECF No. 25-1 at 6.

       Nor does the issuance of an injunctive order by another judge in this District undermine

USCCB’s showing of irreparable harm. Opp. 30 (citing AIDS Vaccine Advocacy Coalition v.

United States, 2025 WL 485324 (D.D.C. Feb. 13, 2025)). The government has been subject to

that injunction for two weeks, yet it has made no payments to USCCB. Instead, the government

has sought to evade its obligations under federal law and that order by unlawfully terminating

USCCB’s cooperative agreements. That order thus does nothing to ease the ongoing and irrepa-

rable harm USCCB is facing due to the government’s unlawful suspension-turned-termination.

IV.    The Balance Of The Equities And Public Interest Favor Relief

       The balance of the equities and the public interest strongly favor USCCB. The government

offers no answer to the glaring inequity of its assigning USCCB nearly 7,000 refugees and impos-

ing obligations on USCCB to provide essential services to those refugees only to suddenly suspend

or terminate the millions of dollars in funding needed to provide those services. Refugees currently

in the program are losing essential services like food, medical, and housing assistance now. No

rational “balance of equities” justifies that result. Winter v. NRDC, 555 U.S. 7, 20 (2008).


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       The government instead claims that a preliminary injunction would “effectively disable the

President from effectuating the President’s agenda consistent with his constitutional and statutory

authorities,” and would cause the government “irreparable injury” by preventing it from effectu-

ating statutes enacted by representatives of its people. Opp. 32. But USCCB’s argument is that

the government’s actions are not “consistent” with and do not “effectuate” the statutes enacted by

Congress (not to mention the State Department’s own regulations). If the Court concludes that

USCCB is likely to succeed on the merits of those claims, the government’s argument collapses.

See Open Cmtys. All. v. Carson, 286 F. Supp. 3d 148, 179 (D.D.C. 2017) (“There is generally no

public interest in the perpetuation of unlawful agency action.”).

V.     USCCB Should Not Be Required To Post Security

       Finally, should the Court grant USCCB’s motion for a preliminary injunction, the Court

should reject the government’s half-hearted request for a bond under Federal Rule of Civil Proce-

dure 65(c). Rule 65(c) “vest[s] broad discretion in the district court to determine the appropriate

amount of an injunction bond,” DSE, Inc. v. United States, 169 F.3d 21, 33 (D.C. Cir. 1999)—

including to refuse a bond or set a bond “in a nominal amount,” P.J.E.S. ex rel. Francisco v. Wolf,

502 F. Supp. 3d 492, 550 (D.D.C. 2020) (quotation marks omitted)).

       Courts generally exercise their discretion to waive the bond requirement when private par-

ties seek to vindicate “important federal rights or public interests” against the government, includ-

ing cases concerning rights granted “under immigration laws.” Francisco, 502 F. Supp. 3d at 550

(collecting cases). Courts also waive bonds (or impose nominal bonds) when requiring more than

a nominal bond would “have the effect of denying the plaintiffs their right to judicial review of

administrative action.” Id. at 550; see also Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget,

2025 WL 597959, at *18 (D.D.C. Feb. 25, 2025).


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       Under that framework, USCCB should not be required to post security because it seeks to

vindicate important public rights and requiring security would undermine its right to judicial re-

view. USCCB is a nonprofit, religious organization seeking to protect the refugees allocated to it

under the refugee-resettlement program, a program granting rights “under immigration laws” and

determined by Congress to be within the public interest of the United States. Id.; see Refugee Act

of 1980, 94 Stat. 102. The government argues that a bond is appropriate because it claims this

case is “ultimately about money.” Opp. 32. Putting aside that USCCB disagrees with that char-

acterization of this case, as already discussed, the government again offers no caselaw or argument

explaining for why a bond would be required simply because money is at issue.

       The equities, moreover, cut strongly against imposing a bond. The government’s unlawful

withholding of funds has already imposed a “drain” on USCCB’s operational and investment re-

serves, risking “jeopardizing” the organization’s “entire operation.” Fuller Decl. ¶ 10. And hold-

ing USCCB “hostage” with a large bond would impose significant barriers to judicial review, es-

pecially because USCCB’s financial resources have been slashed, its staff has been cut, and its

religious mission has been undermined because of the government’s unlawful conduct. Nat’l

Council of Nonprofits, 2025 WL 597959, at *18 (it “would defy logic” to “hold Plaintiffs hostage

for the resulting harm” when the “government is alleged to have unlawfully withheld” funds, “es-

pecially” when the defendants “will personally face no monetary injury from the injunction”). The

Court therefore should impose no bond (or at most a nominal bond).

                                          CONCLUSION

       This Court should grant USCCB’s motion for a preliminary injunction.

  February 27, 2025                                  Respectfully submitted,

                                                     /s/ David W. Casazza

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